Case 3:13-cv-00331-GPC-KSC Document 164-13 Filed 06/15/17 PageID.8475 Page 1 of 18
  Case 3:13-cv-00331-GPC-KSC Document 164-13 Filed 06/15/17 PageID.8476 Page 2 of 18
                                                                                                                                                                                                               l1U. LO , I U 0


                                                                 I . PAOC . INSTRUMENT OEN (CONTRACT)                                                   I(ORDER) NO.         6 . INVOICE                               7. PAGE         I OF
              MATERIAL INSPECTION                                                                                                                                           NO.                                             1                         2
                      AND                                                        NOOO19-85-C-0066                                                                                                                      8. ACCEPTANCE POINT
               RECEIVING REPORT                                                                                                                                             DATE                                                         S
   2. r 1ENTNO                        3. DATE SHIPPED            4. BIL                                                                                   S. DISCOUNT TERMS


                                                                                                                                                                                                          CASH

   I!
                                                                 TCN
     STR 3485                          09/30/90                                                                           0                                                                 NET
   II. PRIME CONTRACTOR                               COOE                                                                  10. ADMINISTERED BY                                                          COOE     I S0707A
                              UNITED                                                                                               Defense Plant Representative
                              TECHNOLOGIES                                                                                         United Technologies Corporation
                              ~~                                                                                                   Sikorsky Aircraft Division
                              &~&I?lJ                                                                                              Stratford, Connecticut 06497
    Stratford, Connecticut 06601                            U.S.A.
   11 . SHIPPED FROM (ff od>er /han 9)
                                                      COOEI                                        FOB:                     12. PAYMENT WILL BE MADE BY       CODE 1
                                                                                                           S                                                         S0707A
                                                                                                                                   Disbursing and Accounting Branch
                         See Block 9                                                                                               Defense Plant Representative Office
                                                                                                                                   Sikorsky Aircraft Division
                                                                                                                                   Stratford, Connecticut 06497
   13. SHIPPED TO                                     CODE   I                   S0707A
                                                                                                                            14 . MARKED FOR
                                                                                                                                                                                                         CODE     I
          Defense Plant Representative
          United Technologies Corporation
          Sikorsky Aircraft Division
          Stratford, Connecticut 06497
   IS.                          16                 STOCK/PART NO.                                         DE SCRIPTION                    17.                      18.             19 .                            20.
              ITEM                                       (Indicate number 01 shipping c ontainers . type 01                                    QUANTITY                UNIT                UNIT PRICE                           AMOUNT
               NO.                                                 container · c ontainer num ber.)                                           SHIP·D.lREC·D. •



   0301                              Model CH-53E Helicopter Serial Number                                                                         1                    EA
                                     163077 in accordance with the require-
         e                           ments of Detail Specification SD-552-
                                     3-9, dated 26 April 1985, with SCN 7,
                                     less withholdings.




                     I
                     I
                     I
   2 1.                                                    PROCUREMENT QUALITY ASSURANCE                                                                               22                          RECEIVERS USE
                                                                                                                                                                       Q UA NTI TIES      SH OWN   IN CO LUMN          11   WERE    REC EIVED IN

   ~PQA          rn                  A. ORIGIN
                         A CCEPTAN CE OF LI STED IT EM S HA S B EEN M ADE
   BY ME OR UN D ER MY S UPER VISI O N AND TH EY CO NFORM TO
                                                                                 o       POA   0
                                                                                                               B DESTINATION
                                                                                                   ACC E PT AN C E OF LIST ED I TE MS HA S B EEN M AD E B Y
                                                                                 M E O R UNDER MY SU PE RVISION AN D THEY CO NFORM TO CON-
                                                                                                                                                                       A PPAR ENT GOO D CO N DIT I O N EXC E PT AS N OT ED.



   COH TRACT, EXC EPT .... S N OT ED HEREIN O R ON SU PPOR TING                  TRACT, E XCEPT AS N OTED H ER EIN OR ON SUPPORTING
   DO CUMENTS .                                                                  DOCU MEN TS
                                                                                                                                                                       DAT E REC E IVED                S I G NA TURE   or   A UT H . GO VT. R E P .


                                                                                                                                                                   TYPED NAME

  3rPWl9'b
              DATE
                                --?L"A..A"'-A .YI1.
                                     SIGN ATURE OF AUTH . GOVT. R EP .                    DA TE                         SIGN ATUR E Of A uT H. GO ll i . RE P
                                                                                                                                                                   AND OFFICE

                                                                                                                                                                   •        IF QUAN TITY     RECE IVED     B Y THE GOVER NMEN T 1$ THE
                                     Theodore L. Kulas                                                                                                             S AME AS QU ANT ITY S HIPPE D, I ND ICA TE B Y ( j ) MA RK , !F
   TYPED NAME                                                                   r VPE O NAME
   AND OfFICE
                                         S0707A                                 AND TITLE
                                                                                                                                                                   D IFFE RENT, EN TER ACTU AL Q UANTI TY R[C [l V[ D B ELO W
                                                                                                                                                                   QU A.N TITY S HIP PE D AN D ENC I RCL E.

   23 . CONTRACTOR USE ONLY                                                              BOX NO                     CONTAINER                                                                                           WE I       H    S
                                                                                                                                                                              H£.IG HT        CU B I              GR
                                                                                                                                                UN GTH        WIO TH
                                                                                                                                                                                                                                            "
   Sikor s ky Seria l Number
      655 68
   Engine Seria l Numb ers
     No. GE-E- 26 9771
           GE-E- 26 977 2
                             ~~'
          [GE-E- 269 770


                                                                                                                                                                                                             No. 287768
                                                                                W HE N ENCLOS E D W IT H O R A TT A. CH ED        ro "   S MI PM ( N T •. )       CON TRAC TO RS CONTROt
                                                                            (   TH I S   S H[ [T   S E R VES   AS   A    PA CK IN G          LIST




   nn            FORM


                                                                                                      Confidential                                                                                                 SIK 006845
                                                                                               Pursuant to Protective Order
AECA/ITAR/EAR                                                                                                                                                                                             Wakefield Ex. 12 - 1313
TECHNICAL DATA AND/OR TECHNOLOGY
Pursuant to Amendment to Protective Order in 13-cv-0331-GPC-KSC
  Case 3:13-cv-00331-GPC-KSC Document 164-13 Filed 06/15/17 PageID.8477 Page 3 of 18

                 ·c                                 tee                                                                 C                  c              c
                                                                YELLOW COpy IS MASTER COpy
                                     MATERIAL INSPECTION AND RECEIVING REPORT                                                                                      OF    2
                                                                              CONTINUATION SHEET
                       DATE SHIPPED                          PROC. INSTRUMENT IDEN.                                                INVOICE NO.
                        09/30/90                                                       N00019-85-C-0066
                             STOCK/PART NO.                                                       DESCRIPTION        QUANTITY
                                                (lndicote number of shipping containen _ type of                C
                                                                                                                    SHIP'D/REC'D   UNIT    UNIT PRICE          AMOUNT
                                                          container - container number.)
            I
            I
            I         HELICOPTER PARTS SHORTAGES:
            I
            I
            I
            I         Helicopter Serial_Number 163077 is
            I
            I         short certain parts as described in
            I
                                                                                                                                                                              ;   I




            I         List "A"_?~tached.
            I
                         ,    ~.   0."','   i   •   0        '... ~ . ~ -'/
            I
            I'
            I     :-,QUALIFICATION REQUIREMENTS: .
            I
            I
            I
            I             The parts installed in Helicopter
            I
                      '-' Serial Number 163077 ,for ,,which
          I
            ..
            I

                          ~ualification isi~compiete,aie
        - I
            J             described in List "B" attached.
            I                                         -.c,
        ,I

                       CH-53E H~li~opter\Ser'i~l Number
            j
          I            163077, "acceptedUIlder' speical
                       conditions"~a~thoriZed in .
          I
         ,L             T~'          l-             > ~                                 -~
         -I                                                                    •   ,          _   -             r




          I            accordance-with N.00019-:-85';:"C-0066; DPRO/
                      (L Sanford/~lb) --_da'ted ;~09/30/90
         'I'
          I                                                      ,'"
         ,I
            I          subject -to the.follow'ing withholdings: '
            I
            I
            I
            I
            I
            I          CFE and'GFE Part Shortages - List "A"                                                                          \-                         ~O-
            I
            I'

                       Unqualified Componeilts ~ List "B"
            j
            I                                                                                                                                                  12,352.
         I
       , 1
        "
                       Open CMRAS - List "c"                                                                                                                    -0-

                       Miscellaneous - List"D"                                                                                                                38,334.

                              _TOTAL WITHHOLDING
                                                                                                                                                          $ 50,686.

                       The above withholdings shall be
                       reduced or liquidated upon
                       installation, completion, or
                       verification of required actions.
                       The withholdings shall be released
                       to the Contractor by the ACO upon
                       concurrence by the Government of
                       installation, completion, or
                       verfication, as the case may be.




            I
            I
            I
            I
            I
            I
            I'
            I
            I
            I
            I




                                                                                                    Confidential                                         SIK 006846
                                                                                             Pursuant to Protective Order
AECA/ITAR/EAR                                                                                                                                       Wakefield Ex. 12 - 1314
TECHNICAL DATA AND/OR TECHNOLOGY
Pursuant to Amendment to Protective Order in 13-cv-0331-GPC-KSC
  Case 3:13-cv-00331-GPC-KSC Document 164-13 Filed 06/15/17 PageID.8478 Page 4 of 18



                                                     DEFENSE LOOISTICS AGENCY
                                              DEFENSE CONTRACT MANAGEMENT COMMAND
                                                DEFENSE PLANT REPRESENTATIVE OFFICE
                                                     SIKORSKY AIRCRAFT DIVISION
                                                    STRATFORD, CT. 06497-7553

      AEF" E A   f O
                       DPRO/AAB (L.Sanford/6-6209 / mlb )                                 SEP 3 0   1911
                       SUBJECT:   Contract N00019-85-C-0066; Provisional Acceptance of
                                  CH-53E Helicopter Serial Number 163077


                       Ms. JoAnn Evans
                       Contract Administrator
                       United Technologies Corporation
                       Sikorsky Aircraft Division
                       11a i 1 Stop S404A


                       Dear Ms. Evans:

                       The subject aircraft is being provisionally accepted under special
                       conditions by the Defense Plant Representative Office pursuant to
                       section H- 14, paragraph (3)~ "Acceptance Under Special Conditions" of
                       Contract N00019-85-C-0066 and the delegation of authority contained in
                       NAVAIR letter 4200 Ser PMA-2611/0403D of 20 September 1990. Your
                       letter CA/JLE-90-0390 of 06 September 1990 requested that this office
                       accept the subject aircraft.

                       Based on . a review of current physical status,                part shortages,
                       unqualified components, and other open items,                  provisional acceptance
                       is subject to the following withholdings:

                                  List    A   -   CFE and GFE Part Shortages              $         0
                                  List    B   -   Unqualified Components                      12,352.00
                                  List    C   -   Open CMRAs                                        o
                                  List    0   -   Miscellaneous                               38,334.00

                                  TOTAL           WI T'HHOLO I NGS:                       $   50,686.00

                       The withholdings for shortages and incomplete actions will be
                       reinstated upon installation or completion.  The Contractor will
                       provide written notification of installation or completion with
                       supporting documentation to the cognizant Administrati v e Contracting
                       Officer.

                       The subject aircraft is configured wi th GFE T-416A engines in lieu of
                       T-416 engines.

                       The Contractor is authorized to deliver the subject a ircraft
                       without installation or completion of the i t ems specified in
                       Paragraph (2).  The 00250 shall be ann o tated accordingly.




                                                          Confidential                                  SIK 006847
                                                   Pursuant to Protective Order
AECA/ITAR/EAR                                                                                  Wakefield Ex. 12 - 1315
TECHNICAL DATA AND/OR TECHNOLOGY
Pursuant to Amendment to Protective Order in 13-cv-0331-GPC-KSC
  Case 3:13-cv-00331-GPC-KSC Document 164-13 Filed 06/15/17 PageID.8479 Page 5 of 18




            SUBJECT:     Contract N00019-85-C-0066: Provisional Acceptance of CH-53E
                         Helicopter Serial Number 163077


            For all deficiencies identified at the time aircraft serial number
            163077 is tendered for acceptance under special conditions and for
            outstanding deficiencies/deviations/waivers/class I or II
            changes/parts shortages/unqualified parts/nonstandard parts/CMRA's,
            the Government does not waive any rights under Special Provision H-14,
            entitled "Acceptance". or any other terms and conditions of contract
            N00019-85-C-0066.

                                                 Sincerely.


                                                ~(l.(9~
            4 Encl                              aLIA A. 0' SHEA
                                                 Administrative Contracting Officer
            cc:
            NAVAIR
            PMA-261
            AIR-215R
            AIR-514
            DPRO
            AD
            ADEM/Bader
            APPL/Wing
            AEC/Chosak
            AQI/Bromell
            AWB/Evans




                                                Confidential                      SIK 006848
                                         Pursuant to Protective Order
AECA/ITAR/EAR                                                                Wakefield Ex. 12 - 1316
TECHNICAL DATA AND/OR TECHNOLOGY
Pursuant to Amendment to Protective Order in 13-cv-0331-GPC-KSC
  Case 3:13-cv-00331-GPC-KSC Document 164-13 Filed 06/15/17 PageID.8480 Page 6 of 18




                                             LIST A
                                          PART SHORTAGES
                           CH-53E     HELICOPTER SERIAL NUMBER              163077


                                                                     ITEM             TOTAL
             PART NUMBER         NOMENCLATURE           QTY        WITHHOLDING       WITHHOLDING
             CFE
             None
             GFE:
             613AS100            Seat Belts              56            0               0
             MS17399B-1          Turn Rate Gyro           1            0               0




             TOTAL WITHHOLDINGS LIST A:                       I)


                                                                           Enclosure (1)




                                                Confidential                                 SIK 006849
                                         Pursuant to Protective Order
AECA/ITAR/EAR                                                                           Wakefield Ex. 12 - 1317
TECHNICAL DATA AND/OR TECHNOLOGY
Pursuant to Amendment to Protective Order in 13-cv-0331-GPC-KSC
  Case 3:13-cv-00331-GPC-KSC Document 164-13 Filed 06/15/17 PageID.8481 Page 7 of 18




                                                 LIST B
                                          UNQUALIFIED COMPONENTS
                                  CH-53E HELICOPTER SERIAL NUMBER 163077




                                                      S/A         S/A              S/A              NAVY       NAVY                   PER
      PART NUMBER             NOMENCLATURE            PLAN     SUBMITTAL         DOCUMENT         RESPONSE   DOCUMENT       ACTION    A/C

    65912-01019-101   ILLUM INFO PNL                           06/13/90    444-BJL/N700.009                               NAVAIR     S70.00
    65560-03901-127   ILLUM INFO PNL                           06/13/90    444-BJL/N700.009                               NAVAIR    $610.00
    65126-11359-101   DAMPER ISOLATOR                          05/31/90    SER-13808/SEL -4661
                                                                                             01/20/88 SER-53031H/7. 73745 NAVAIR     $86.00
    65912-01801-103   ILLUM INFO PNL                           06/13/90    444-BJL/N700. 009                              NAVAIR     S50.00
    65395-07031-042   T/R PITCH CHANGE SHAFT                                                                              NAVAIR      SO.OO
    65664-09910-101   APP START ACCUMULATOR                    06/19/90 SER-13853R2/SEL-4739                              NAVAIR S7,600.00
    65912-01801-104   ILLUM INFO PNL                           06/13/90 444-BJL/N700. 009                                 NAVAIR     S50.00
    65130-07159-043   T/R PITCH SHAFT SUPT.                                                                               NAVAIR      SO.OO
    65506-09115-104   CONTAINER (FIRE EXTINGUISHER) 09/30/90                                                              S/A    S1,920.00
    65506-09116-104   CONTAINER (FIRE EXTINGUISHER) 09/30/90                                                              S/A       S766.00
    S6168-63585-104   HYDRAULIC HEAT EXCHANGER      03/31/91            SEL-    \SER-13905                                S/A    S1 ,200~00




             TOTAL WITHHOLDINGS LIST B:                                          $12,352.00


                                                                                                 Enclosure   (2)




                                                            Confidential                                                SIK 006850
                                                     Pursuant to Protective Order
AECA/ITAR/EAR                                                                                                      Wakefield Ex. 12 - 1318
TECHNICAL DATA AND/OR TECHNOLOGY
Pursuant to Amendment to Protective Order in 13-cv-0331-GPC-KSC
  Case 3:13-cv-00331-GPC-KSC Document 164-13 Filed 06/15/17 PageID.8482 Page 8 of 18




                                              LIST   C

            OPEN CONFIGURATION MANAGEMENT RELEASE AUTHORITIES (CMRAs)
                     CH-53E HELICOPTER SERIAL NUMBER 163077



                                              None




           TOTAL WITHHOLDINGS LIST C:                             o



                                                                        Enclosure (3)




                                                Confidential                            SIK 006851
                                         Pursuant to Protective Order
AECA/ITAR/EAR                                                                     Wakefield Ex. 12 - 1319
TECHNICAL DATA AND/OR TECHNOLOGY
Pursuant to Amendment to Protective Order in 13-cv-0331-GPC-KSC
  Case 3:13-cv-00331-GPC-KSC Document 164-13 Filed 06/15/17 PageID.8483 Page 9 of 18




                                         LIST  D
                                      MISCELLANEOUS
                         CH-53E HELICOPTER SERIAL NUMBER 163077


                                                                                 WITHHOLDING




            Water Integrity                                             $       33.334.00 See Note 1

            Open Spec Compliance. SD-522-39 (p) 3-16.5                  $        5~000.00   See Note 2
            missing electrical shield grounds from
            ICS harness PIN 65611-02212-042



            TOTAL WITHHOLDINGS LIST D:                                      $   38.334.00


            Note 1:   1/2 restoration when effective implementation of process
                      improvements to improve water integrity has been demonstrated.

                      1/2 restoration      at completion of implementation of process
                      improvements.

            Note 2: Corrective action will be           accomplished in accordance with the
                    milestone chart submitted           with Sikorsky Aircraft letter
                    PML-90-1i3 of 28 Jun 90.            Withholding will be restored upon
                    completion of all actions           outlined in said letter. and DPRO
                    approval of test results.




                                                                  Enclosure (4)




                                                Confidential                                SIK 006852
                                         Pursuant to Protective Order
AECA/ITAR/EAR                                                                          Wakefield Ex. 12 - 1320
TECHNICAL DATA AND/OR TECHNOLOGY
Pursuant to Amendment to Protective Order in 13-cv-0331-GPC-KSC
   Case 3:13-cv-00331-GPC-KSC Document 164-13 Filed 06/15/17 PageID.8484 Page 10 of
                                         18
             5EP 28 '90 11: 08 NAVPRO SIVOR-::;VY                                                  P.2




                                                              I
                                                              I
                                                LIST A   i
                                             PART SHORTAqES
                             CH-53E      HELrCOPTER SERI4L NUMBER               163077
                                                              i




              PART
              CFE
             None
                      NUMBER       NOME:NCLATURE           QT~          ITEM
                                                                      WITHHOLDING
                                                                                          TOTAL
                                                                                         WITHHOLDING


              ~
              613AS100
              MS17399B-l
                                   Seat Belts
                                   Turn Rate Gyro
                                                            sJ
                                                             1)
                                                                           o
                                                                           o
                                                                                            o
                                                                                            o
                                                              !
                                                              I


                                                              I


                                                              I




                                                      .'




             TOTAL WITHHOLDINGS L1Sr A:                           o
                                                                               Enclosur-e   (1)




                                                   Confidential                                   SIK 006853
                                            Pursuant to Protective Order
AECA/ITAR/EAR                                                                               Wakefield Ex. 12 - 1321
TECHNICAL DATA AND/OR TECHNOLOGY
Pursuant to Amendment to Protective Order in 13-cv-0331-GPC-KSC
   Case 3:13-cv-00331-GPC-KSC Document 164-13 Filed 06/15/17 PageID.8485 Page 11 of
                                         18
               ,SEF' 28 '90 11: 09          ~1AVPRO   SIKORSKY                                                                              P.3




                                                                                           r

                                                                                          i
                                                      LIST B                              I
                                               UNQUALIFIED COMPO~ENTS
                                       CH-53E HELICOPTER SERIAL lUMBER 163077


                                                                                          I
                                                                                          I
                                                           S/A         S/A                I S/A               ~AVY            NAVY                           PER
       PARr NUfoIaER               NOfo1e~cLAruRE          PLAN     SUSMHTAL              IOOCUMEtH         ReSPONse        COCUMENi            ACTlOll     Ale
     -~---.------   .....-... ------.... ----......... -------- ---._---- ·····r·······-·····- .. --........... -............ ---- .-.-....:.
     65912-01019·101 ILLUM INfO PilL                                06/13/90 444'SjL/N700.009                                                   NAVAIR       $70.00
     65S60-0l901-127 lLlUM INFO P~L                                 06/1~/90 444-81L/N700.009                                                   NAVAIR      $610.00
     65126'11359·101 DAMPER ISOLATOR                                05/31/90   SER-ltsOS/SEL-4661           01120/8$ SER·S:S0311i!7.73745 NAVA1R          $86.00
     65912-01801·103 II.I.UH IIIFO PilI.                            06/13/90   444-SfI..lN700.009                                               NAVAIR    S50,00
     65395-07031'042   T/R PITCH CHANGE SHAFT                                         I                                                         NAVAIR     SO.oo
     65664'09910-101   APP SrARY ACCUMULATOR                        06/19/90 SER·1f8SlR2/SEL-4739                                               NAVAIR S7,600.00
     65912-01801-104    lW)M INFO PilI.                             06/15/90 444·841./14700.009                                                 HAVAIR       $50.00
     65130'07159-043 T/R PITCH SHAFT SUIlT.                                           I                                                         IIAVAIR       $0.00
     65506·09115-104 CONTAINER (FtRE EXTINGUISHER) 09/30/90                           Ii                                                        S/A       $1,920.00
     65506-09116-104 COHTAIHe~ (flRE eXTINGUISHER) 09/50/90                                                                                     S/A         $766.00
     56168·63585'104 IIYORAlJLlC HeAT EXCHAAG£;R   Ol/3U91                     Scl~   I        \SEIH390S                                        S/A       $1,200.00
     ~;_~_~;~~          ~   •••• ~~~~~~~~~;;;~;~;_;;__ . .__ ;_;~   .mm~%5~~   ~~~~~~;;~;~_~;;r~;~          ;;;;;___   ___;_=_;;; __   ;_;~.~   ~~~se~    ~~=~~~~=~




                                                                                      I
                                                                                      I




                                                                                      I



                TOTAL WITHHOLDINGS LIST B:                                            1$12,352.00


                                                                                                           Enclosure        (2)




                                                                 Confidential                                                             SIK 006854
                                                          Pursuant to Protective Order
AECA/ITAR/EAR                                                                                                                     Wakefield Ex. 12 - 1322
TECHNICAL DATA AND/OR TECHNOLOGY
Pursuant to Amendment to Protective Order in 13-cv-0331-GPC-KSC
   Case 3:13-cv-00331-GPC-KSC Document 164-13 Filed 06/15/17 PageID.8486 Page 12 of
                                         18
           ,SEP 28 '90 11: 09 NAVPRO Sn<ORSV\'                                            P. 4




                                                 LIST   C

            OPEN CONFIGURATION MANAGEMENT RELEAS~ AUTHORITIES (CMRAs)
                     CH-53E HELICOPTER SERIAL NUrSER 163077
                                                            I




                                                 None




            TOTAL WITHHOLDINGS LIST C:                             o



                                                                         Enclo5ure (3)




                                                 Confidential                            SIK 006855
                                          Pursuant to Protective Order
AECA/ITAR/EAR                                                                      Wakefield Ex. 12 - 1323
TECHNICAL DATA AND/OR TECHNOLOGY
Pursuant to Amendment to Protective Order in 13-cv-0331-GPC-KSC
   Case 3:13-cv-00331-GPC-KSC Document 164-13 Filed 06/15/17 PageID.8487 Page 13 of
                                         18
            0EP 28   !   90 11: 09 t'lAVPRO SIKORSK'(                                                   P.s




                                              LIST 0
                                           MISCELLANEOUS
                              CH-53E HELICOPTER SERIAL NYMSER 163077


                                                                                            WITHHOLDING




            water Integrity                                                        $       33,334.00 See      Not~    1

            Open Sp~c Compliance~ 5D-522-39 (p) 4-16.5                             $        5,000.00 See Note 2
            missing electrical shield grounds frqm
            res harness PIN 65611-02212-042      i




            TOTAL WITHHOLDINGS LIS. D:                                                 $   38,334.00


            Note 1: 1/2 restor~tion when
                    improvements to improve
                                                         eff.cti~e
                                                            watsl
                                                                        implement.tion o. process
                                                                       int~grityhas been demonstrat~d.

                           1/2 restoration at           completio~     of implementation of process
                           improvements.
                                                                   I
            Note 2: Corrective action will be acdomplished in accordance with the
                    milestone chart submitted wi~h Sikorsky Aircraft letter
                    PML-90-113 oT 28 Jun 90.  Wi~hholdina will be restored upon
                    completion of all actions ou~lined i~ said letter, and DPRO
                                                 i
                    approval of test results.




                                                                         Enclosure (4)




                                                        Confidential                                   SIK 006856
                                                 Pursuant to Protective Order
AECA/ITAR/EAR                                                                                     Wakefield Ex. 12 - 1324
TECHNICAL DATA AND/OR TECHNOLOGY
Pursuant to Amendment to Protective Order in 13-cv-0331-GPC-KSC
   Case 3:13-cv-00331-GPC-KSC Document 164-13 Filed 06/15/17 PageID.8488 Page 14 of
                                         18




     ~
            e        UNITED
                     TECHNOLOGIES
                     SIKO RSKY
                     AIRCRAFT
           Septe mber 6, 1990
                                                                        6900 Main Street
                                                                        Stratford, Connectic ut 06601-13 81
                                                                        203/386-4 000




                                                                           CA/JL E-90- 0390
           Depar tment of the Navy
           Defen se Plant Repre senta tive Offic e
           Strat ford, Conn ecticu t 06497
           Atten tion: Mr. E. Weism an, Admi nistra tive contr actin
                                                                     g Offic er
           Subje ct:   contr act N0001 9-85-C -0066 ; Accep tance of Mode L£H-S
                       Helic opter , Seria l Number 16307 7                     3E

           Enclo sure: (1) List A, Part Short ages
                       (2) List B, Unqu alifie d Parts
                       (3) List C, Open CMRA's
                       (4) List D, Misce llaneo us
          Pursu ant to the terms and cond itions of the subje ct
          Aircr aft hereb y subm its a reque st for accep tance of contr act, Sikor sky
          Seria l Number 16307 7 under Contr act Line Item 0301. CH-53E Helic opter ,
          We antic ipate that this aircr aft will be avail able
          Septe mber 1990. Comp onents for which quali ficat ionsfor deliv ery durin g
          been comp leted, short age items and any appli cable waivtestin g has not·
          will be liste d on the DD Form 250.                        ers/d eviat ions

          An equit able withh oldin g for the work to be comp leted
          at time of deliv ery shoul d be estab lishe d in accor danceon this aircr aft
          contr act Requi remen t H-14, Parag raph (3) (a) entit led, with speci al
          Speci al Cond itions ". The contr actor reque sts             "Acce ptanc e Under
          autho rized to reduc e such withh oldin gs as item that  the DEPROPLANTREPO be
                                                               for which the
          withh oldin gs were estab lishe d becom e avail able and/o
          in the aircr aft.                                          r are incor porat ed

          In the event that the subje ct aircr aft is ready for
          certa in items ident ified on "List A, Part Short ages" deliv ery excep t for
          Form 250, it is under stood that as these items becom attac hed to the DD
          will be insta lled by Sikor sky Aircr aft at no chang e e avail able, they
          contr act price .                                       in the subje ct

         Accor dingly , Sikor sky Airc raft reque sts that the Adm
         contr actin g Offic er accep t CH-53 E, Seria l Number 16307inistr ative
         under the provi sions of the subje ct contr act based        7
         herei n.                                                 on the facts cited

         Very truly yours ,
         UNITED TECHNOLOGIES CORPORATION
                                                                                      ~

         ~:fJ~
         Jo Ann L. Evans                            u~
         Contr act Admi nistra tor                  \'
         SIKORSKY AIRCRAFT DIVISION
         Enclo sures




                                                Confidential                             SIK 006857
                                         Pursuant to Protective Order
AECA/ITAR/EAR                                                                     Wakefield Ex. 12 - 1325
TECHNICAL DATA AND/OR TECHNOLOGY
Pursuant to Amendment to Protective Order in 13-cv-0331-GPC-KSC
   Case 3:13-cv-00331-GPC-KSC Document 164-13 Filed 06/15/17 PageID.8489 Page 15 of
                                         18




                                            LIST D
                                         MISCELLANEOUS
                          CH-53 E HELIC OPTER SERIA L NUMBER         163077

             ITEM
                                                                                   WITHHOLDING



            Water Integ rity
                                                                          $       33.33 4.00 See Note 1
            Open Spec Compliance~ SD-52 2-39 (p) 3-16. 5
            missi ng elect rical shiel d groun ds from                    $        5.000 .00 See Note 2
            ICS harne ss PIN 65611 -0221 2-042



            TOTAL WITHHOLDINGS LIST D:
                                                                              $   38.33 4.00

            Note 1: 1/2 resto ratio n when effec tive imple
                                                            menta tion of proce ss
                    impro vemen ts to impro ve water integ rity has
                                                                     been demo nstrat ed.
                      1/2 resto ratio n at comp letion of imple menta
                                                                      tion of proce ss
                      impro vemen ts.

            Note 2: Corre ctive actio n will be        accom plishe d in accor dance with the
                    miles tone chart subm itted        with Sikor sky Aircr aft lette r
                    PML-9 0-113 of 28 Jun 90.          Withh olding will be resto red upon
                    comp letion of all actio ns        outlin ed in said lette r. and DPRO
                    appro val of test resul ts.




                                                                  Enclo sure (4)




                                                Confidential                                   SIK 006858
                                         Pursuant to Protective Order
AECA/ITAR/EAR                                                                           Wakefield Ex. 12 - 1326
TECHNICAL DATA AND/OR TECHNOLOGY
Pursuant to Amendment to Protective Order in 13-cv-0331-GPC-KSC
                     Case 3:13-cv-00331-GPC-KSC Document 164-13 Filed 06/15/17 PageID.8490 Page 16 of
                                                           18

                   Sikorsky Aircraft                AIRCRAFT SHORTAGE NOTICE                    ORIG. DATE          9/14/9U
                                                                                                                  ==-~---
 ATTACHMENT TO LE TTE RfAI RCR-Arr- MO                                    9/21/90




                                                                                                                                                  SIK 006859
          DATED ;9/14./9N   CH-53E                  163077                                                                           OF '1
                                                                                                           s. A~_QU A L ITY CON TRO L
  IDENTIFICATION NO.      I    NOMENCLATURE,          ~Ff                                                                     I   DATE
                               TYPE AND MODEL         CFE                                               INSPECTOR I S STAMP   I INSPECTEr

                                                                                •
                                                                                I
 MS17399B~1                    TURN   RAT~   GYRO     GFE    1                  I
    iORlTY/'                                                                        EST.AVAIl-:                  'REQD .AVAIL':' t
                                                                                     ABILITY I      '               ABILITY I

 613ASIOO-2                       LAP BELT
                                                                                    EST .AVAIL-I                  REQD.AVAIL-:
                                                                                     ABILITY l                      ABILITY I




                                                                                                                                                  Pursuant to Protective Order


                                                                                                                                                                                 Pursuant to Amendment to Protective Order in 13-cv-0331-GPC-KSC
                                                                                    EST .AVAIL-'                  REQD.AVAIL-:




                                                                                                                                                         Confidential
                                                                                     ABILITY :                      ABILITY •


                                                                                    EST .AVAIL-:                  REQD.AVAIL-l
                                                                                     ABILITY I                      ABILITY I




                                                                                                                                                                                 TECHNICAL DATA AND/OR TECHNOLOGY
                                                                                    EST .AVAIL-:                  REQD. AVAI L-\
                                                                                     ABILITY I                      ABILITY I


                                                                                    EST . AVAIL-!                 REQD.AVAIL-I
                                                                                      ABILITY I                     ABILITY I


                                                                                    EST .AVAIL-:                  REQD.AVAIL-l
    ioirF6~~                                                                         ABILITY I                      ABILITY ,




                                                                                                                                                                                 AECA/ITAR/EAR
  SHORTAGE     I




"W fa':                                                                             EST .AVAIL-:
                                                                                     ABILITY I
                                                                                                                              L-'I
                                                                                                                                 I


                                                                                                                        Wakefield Ex. 12 - 1327
                  Case 3:13-cv-00331-GPC-KSC Document 164-13 Filed 06/15/17 PageID.8491 Page 17 of
                                                        18

               Sikorsky Aircraft            AIRCRAFT SHORTAGE NOTICE               ORIG. DATE
                                                                                                   -9/14/90
                                                                                                      -----
 ATTACHMENT TO LETTER-IAIRCRAFT MODE




                                                                                                                                   SIK 006860
          DATE 09/14/9'    CH-53E           163077                                                    PAGE 1        0F 1

  IDENTIFICATION NO.       NOMENCLATURE,
                           TYPE AND MODEL
                                              GFE I
                                              OR QTY.
                                              CFE SHORT
                                                                                          S.A. OUA
                                                                                       INSPECTOR'S STAMP

 MS17399B-1                TURN RATE GYRO     GFE    1
AUTHORITY/'                                                             EST.AVAIL-:            'REQD .AVAI L... I
REASON- FORI                                                             ABILITY ,                ABILITY 1
 SHORTAGE I
 613ASIOO-2                   LAP BELT
                                                                        EST.AVAIL-I                REQD.AVAIL-:
                                                                         ABILITY I                   ABILITY ,




                                                                                                                                   Pursuant to Protective Order


                                                                                                                                                                  Pursuant to Amendment to Protective Order in 13-cv-0331-GPC-KSC
                                                                        EST.AVAIL-I                REQD.AVAIL-:




                                                                                                                                          Confidential
                                                                         ABILITY :                   ABILITY I


                                                                        EST .AVAIL-:               REQO .AVAIL-l
                                                                         ABILITY I                   ABILITY I




                                                                                                                                                                  TECHNICAL DATA AND/OR TECHNOLOGY
                                                                        EST .AVAIL-I               REQO.AVAIL-l
                                                                         ABILITY :                   ABILITY I


                                                                        EST .AVAIL-:               REQD.AVAIL-:
                                                                          ABILITY I                  ABILITY I


                                                                        EST .AVAIL-:               REQO.AVAIL-:
                                                                         ABILITY I             ,     ABILITY I




                                                                                                                                                                  AECA/ITAR/EAR
 ADTRORIT                                                               EST.AVAIL-I                REQO·..AV -'
" REASON F~
  <:HORTAr,F                                   _____ ._.__ -__' -----'--------_...1-_------
                                                                         ABILITY :                   ABILI 1l" :

                                                                                                         Wakefield Ex. 12 - 1328
   Case 3:13-cv-00331-GPC-KSC Document 164-13 Filed 06/15/17 PageID.8492 Page 18 of
                                         18



   Internal Correspondence
    e
                       TO:     F. Dunn, J.    Evans, S. Hedges,            PIF-B-3254-90
                               J. Kirpas

                       FM:     T. Walsh
                       RE:     Delineation of Configuration

                       DT:     9-6-90

                       cc:     R. Davis, M. DePasquale, K. Sutter, D. Walker

                       It is hereby requested that the delivery documents
                       ~or the aircraft listed below reflect those Engi-
                       neering changes that have not yet been incorporated.

                       Revisions to the attached information will be
                       available at your request by contacting the under-
                       signed on extension 5652.

                             AIC AFFECTED                         TOTAL OPEN



                              CH-53E 163077                        o




  SA 5 REV. C


                                                 Confidential                         SIK 006861
                                          Pursuant to Protective Order
AECA/ITAR/EAR                                                                    Wakefield Ex. 12 - 1329
TECHNICAL DATA AND/OR TECHNOLOGY
Pursuant to Amendment to Protective Order in 13-cv-0331-GPC-KSC
